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EXHIBIT

Cc

 

The minutes below are in draft form, subject to approval by the
Legislative Post Audit Committee at a later meeting.

DRAFT
MINUTES
Legislative Post Audit Committee
April 22, 2022

Call to Order

Welcome - The meeting was called to order by Chairman Rob Olson at
10:00 a.m. in Room 582-N of the Statehouse. Committee members present:

Sen. Rob Olson, Chairman Rep. John Toplikar, Vice Chair
Sen. Ethan Corson Rep. John Barker

Sen. Mike Thompson Rep. Tom Burroughs

Sen. Caryn Tyson Rep. Jason Probst

Sen. Mary Ware Rep. Kristey Willlams

Performance Audits and Evaluations

Driver’s License Suspensions (Limited Scope) - Cade Graber, Auditor,
presented the findings from the two limited-scope audits and answered
questions from the committee. Lacey Black, Driver Solutions Manager at
the Kansas Department of Revenue, answered questions from the
committee.

Follow Up Audit (Limited Scope) — Mohri Exline, Auditor, presented the
findings from the audit and answered questions from the committee.

Tax Credit Scholarship Program (Limited Scope) — Mohri Exline, Auditor,
presented the findings from the audit and answered questions from the
committee.

School District Social Workers (Limited Scope) —- Tanner Rohrer, Auditor,
presented the findings from the audit and answered questions from the
committee.

These audits will be distributed to all legislators.
Consent Calendar

Kristen Rottinghaus, Deputy Post Auditor, reviewed the consent calendar.
The consent calendar included approval of the March 30 meeting minutes
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and acceptance of the completed performance audits presented at today’s
meeting. There were no objections, so the items were approved.

Performance Audit Requests for the Upcoming Year

Kristen Rottinghaus, Deputy Post Auditor, reviewed for members the
performance audit requests submitted during the session.

Kristen reviewed the list of 13 audit requests for members and suggested
they select about 6 proposals. The Chair entertained motions to authorize
audit projects for the coming year.

6L —- Evaluating Groundwater Management Districts’ Efforts to Conserve
Water. Representative Highland and Representative Vaughn spoke on
behalf of their proposal. Representative Burroughs made a motion to
approve the audit. Representative Barker seconded. Motion carried.

TIL - Reviewing Kansas's Procedures for Election Security. Senator Dennis
Pyle spoke on behalf of his proposal. Representative Toplikar made a
motion to approve the audit and give Senator Tyson and Senator Pyle 5
days to make modifications for the Chair's approval. Representative Barker
seconded. Motion carried. Senator Ware opposed the motion and
requested to have her vote recorded. Staff will work with Senator Tyson
and Senator Pyle to craft the modifications to the proposal for future
review and approval.

4L - Reviewing Community College Athletic Programs. Representative
Barker made a motion to approve this audit. Senator Toplikar seconded.
Motion carried.

1E —- Reviewing Agencies’ Implementation of Selected Performance Audit
Recommendations. Representative Barker made a motion to approve this
audit. Representative Toplikar seconded. Motion carried.

8L - Assessing the Impact of Permanent Work from Home Options.
Representative Tory Marie Arnberger spoke on behalf of her proposal.
Representative Williams made a motion to approve the audit.
Representative Barker seconded. Motion carried.

13L - Evaluating Whether Services to Collect Child Support Payments in
Kansas are Effective and Timely. Senator Tyson made a motion to approve
this audit. Representative Burroughs seconded. Motion carried.

Once six topics were approved, Senator Thompson made a motion to have
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staff prioritize audits GL and TIL on the schedule. Representative Toplikar
seconded. Motion carried.

Additional Business
Date of next meeting — Chris Clarke, Post Auditor, outlined the reports

LPA will be ready to release at future meetings. She said she will work with
Chairman Olson to schedule the next meeting sometime this summer.

Adjournment

The meeting adjourned at 12:48 p.m.

 

Nicole Blanchett, Secretary date
Legislative Post Audit Committee

All handouts and other documents referred to in these minutes are on file
with Legislative Post Audit. Unless specifically noted, the individual
remarks recorded herein have not been transcribed verbatim and have
not been submitted to the individuals appearing before the committee for
editing or corrections.
